




02-11-165-CV









 
  
  
   
    
   
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
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NO. 02-11-00165-CV 

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  In the Interest of M.M., C.M., E.M., and I.M.,
  Children
  
  
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FROM THE 211th
District Court OF Denton COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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On August
8, 2011, we notified appellant that the trial court clerk responsible for
preparing the record in this appeal had informed this court that arrangements
had not been made to pay for the clerk=s
record as required by Texas Rule of Appellate Procedure 35.3(a)(2).&nbsp; See Tex.
R. App. P. 35.3(a)(2).&nbsp; We stated that we would dismiss the appeal for want of
prosecution unless appellant, within fifteen days, made arrangements to pay for
the clerk=s record and provided this court with
proof of payment.&nbsp; 

Because
appellant has not provided proof of payment arrangements
for the clerk=s record, it is the opinion of the court
that the appeal should be dismissed for want of prosecution.&nbsp;&nbsp; Accordingly, we
dismiss the appeal.&nbsp; See Tex. R. App. P. 37.3(b), 42.3(b).

Appellant
shall pay all costs of the appeal, for which let execution issue.

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PER CURIAM

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PANEL:&nbsp;
GABRIEL,
J.; LIVINGSTON, C.J. and DAUPHINOT, J.

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DELIVERED:&nbsp;
August 31, 2011








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[1]See Tex. R. App. P. 47.4.







